            CASE 0:24-cv-00104-BCW Doc. 48 Filed 03/28/24 Page 1 of 18




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


 Thomas Rhodes,
                            Plaintiff,                 Case No. 24-CV-104-BCW
       v.
 Ramsey County Medical Examiner
 Michael McGee, Kandiyohi County                     HENNEPIN DEFENDANTS’
 Attorney Boyd Beccue, Hennepin County               AMENDED ANSWER AND
 Sheriff’s Office Captain William Joseph             AFFIRMATIVE DEFENSES
 Chandler, Kandiyohi County, Ramsey
 County, and Hennepin County,                       DEMAND FOR JURY TRIAL
                              Defendants.


                                         ANSWER

      Defendants Hennepin County and Hennepin County Sheriff’s Office Captain

William Joseph Chandler (together, “Hennepin Defendants”), for their Amended Answer

to the Complaint (ECF 1), states as follows:

      1.      The Hennepin Defendants deny every allegation contained in Plaintiff’s

Complaint except as expressly admitted, qualified, or otherwise explained in this Answer.

                                   INTRODUCTION

      2.      Responding to the allegations in paragraph 1 of the Complaint, the Hennepin

Defendants admit that Plaintiff was imprisoned after a jury convicted him of first- and

second-degree murder of his wife. Deny that the Hennepin Defendants conspired, sought

to have Plaintiff wrongfully prosecuted or convicted, or otherwise engaged in wrongful

conduct. To the extent the remaining allegations in paragraph 1 are directed to Defendants

Michael McGee and Ramsey County (together, “Ramsey Defendants”) and/or Defendants
            CASE 0:24-cv-00104-BCW Doc. 48 Filed 03/28/24 Page 2 of 18




Boyd Beccue and Kandiyohi County (together, “Kandiyohi Defendants”), no response is

required from the Hennepin Defendants. To the extent the remaining allegations in

paragraph 1 are directed to the Hennepin Defendants, the Hennepin Defendants deny such

allegations. The Hennepin Defendants affirmatively allege that a court vacated Plaintiff’s

murder convictions, and that Plaintiff pleaded guilty to second-degree manslaughter for the

death of his wife.

       3.     Responding to the allegations in paragraph 2 of the Complaint, deny that the

Hennepin Defendants fabricated evidence, “fabricated a crime,” or otherwise engaged in

wrongful conduct. To the extent the allegations in paragraph 2 of the Complaint are

directed to the Ramsey Defendants and/or Kandiyohi Defendants, no response is required

from the Hennepin Defendants. To the extent the allegations in paragraph 2 are directed to

the Hennepin Defendants, the Hennepin Defendants deny such allegations.

       4.     Responding to the allegations in paragraph 3 of the Complaint, the Hennepin

Defendants admit that on or about August 2, 1996, Plaintiff’s wife Jane Rhodes died in

Kandiyohi County, Minnesota, and that Plaintiff was subsequently prosecuted for murder.

Deny that the Hennepin Defendants conspired with anyone, manufactured false evidence,

or otherwise engaged in any wrongful conduct. To the extent the remaining allegations in

paragraph 3 are directed to McGee and/or Beccue, no response is required from the

Hennepin Defendants. To the extent the remaining allegations in paragraph 3 are directed

to Chandler, the Hennepin Defendants deny such allegations.




                                            2
            CASE 0:24-cv-00104-BCW Doc. 48 Filed 03/28/24 Page 3 of 18




       5.     The allegations in paragraph 4 of the Complaint are directed to McGee and

Beccue; therefore, no response is required from the Hennepin Defendants. To the extent a

response is required, denied.

       6.     Responding to the allegations in paragraph 5 of the Complaint, the Hennepin

Defendants deny that they conspired with anyone, fabricated evidence, or otherwise

engaged in wrongful conduct. The Hennepin Defendants deny all remaining allegations in

paragraph 5 of the Complaint.

       7.     Responding to the allegations in paragraph 6 of the Complaint, the Hennepin

Defendants admit that on or about July 29, 1998, a jury convicted Plaintiff of first- and

second-degree murder, and that a court sentenced Plaintiff to life in prison. Deny that the

Hennepin Defendants manufactured false evidence or otherwise engaged in wrongful

conduct. To the extent the remaining allegations in paragraph 6 are directed to the Ramsey

Defendants and/or Kandiyohi Defendants, no response is required from the Hennepin

Defendants. To the extent the remaining allegations in paragraph 6 are directed to

Chandler, the Hennepin Defendants deny such allegations.

       8.     Responding to the allegations in paragraph 7, the Hennepin Defendants admit

that Plaintiff has filed petitions for post-conviction relief and writs of habeas corpus, and

that the Conviction Review Unit (“CRU”) of the Minnesota Attorney General’s Office

reviewed Plaintiff’s criminal case. The Hennepin Defendants further admit that on or about

January 13, 2023, a court vacated Plaintiff’s murder convictions and Plaintiff pleaded

guilty to second-degree manslaughter. The Hennepin Defendants lack sufficient



                                             3
             CASE 0:24-cv-00104-BCW Doc. 48 Filed 03/28/24 Page 4 of 18




information to admit or deny the remaining allegations in paragraph 7 and therefore deny

the same.

       9.      Responding to the allegations in paragraph 8, the Hennepin Defendants admit

that Plaintiff was imprisoned and that Plaintiff has filed a lawsuit against Defendants. Deny

that the Hennepin Defendants engaged in misconduct. Deny that Plaintiff’s claims against

the Hennepin Defendants have merit. To the extent the remaining allegations in

paragraph 8 are directed to the Ramsey Defendants and/or Kandiyohi Defendants, no

response is required from the Hennepin Defendants. To the extent the remaining allegations

in paragraph 8 are directed to the Hennepin Defendants, the Hennepin Defendants deny

such allegations.

                             JURISDICTION AND VENUE

       10.     The allegations in paragraphs 9 through 11 are legal conclusions that require

no response. To the extent a response is required, the Hennepin Defendants admit only that

this Court has jurisdiction over Plaintiff’s claims and that venue is proper in the District of

Minnesota. The Hennepin Defendants deny that Plaintiff possesses any viable claims

against them under federal or state law, and they deny all remaining allegations in

paragraphs 9 through 11.

                                         PARTIES

       11.     The Hennepin Defendants lack sufficient information to admit or deny the

allegations in paragraph 12 of the Complaint and therefore deny the same.




                                              4
            CASE 0:24-cv-00104-BCW Doc. 48 Filed 03/28/24 Page 5 of 18




      12.     The allegations in paragraphs 13 and 14 of the Complaint are directed to the

Ramsey Defendants and/or Kandiyohi Defendants; therefore, no response is required from

the Hennepin Defendants. To the extent a response is required, denied.

      13.     Responding to the allegations in paragraph 15 of the Complaint, the

Hennepin Defendants admit that Chandler was employed by the Hennepin County Sheriff’s

Office as a Captain and member of the Hennepin County Sheriff’s Office water rescue

team. The Hennepin Defendants affirmatively state that the correct name of the Office of

the Hennepin County Sheriff is “Hennepin County Sheriff’s Office,” not “Hennepin

County Sheriff’s Department.” The Hennepin Defendants deny all remaining allegations

in paragraph 15.

      14.     To the extent the allegations in paragraph 16 of the Complaint are directed

to McGee and/or Beccue, no response is required from the Hennepin Defendants. To the

extent the allegations in paragraph 16 are directed to Chandler, the allegations are legal

conclusions that require no response from the Hennepin Defendants.

      15.     The allegations in paragraphs 17 and 18 of the Complaint are directed to the

Ramsey Defendants and/or Kandiyohi Defendants; therefore, no response is required from

the Hennepin Defendants. To the extent a response is required, denied.

      16.     The Hennepin Defendants admit the allegations in paragraph 19 of the

Complaint.

                             FACTUAL ALLEGATIONS

      17.     Responding to the allegations in paragraphs 20 through 34 of the Complaint,

the Hennepin Defendants admit only that on or about August 2, 1996, in Kandiyohi County,

                                            5
             CASE 0:24-cv-00104-BCW Doc. 48 Filed 03/28/24 Page 6 of 18




Plaintiff’s wife Jane Rhodes died, and her body was found in Green Lake. The Hennepin

Defendants deny the allegations in paragraphs 20 through 34 of the Complaint to the extent

that they are inconsistent with any reports authored by Chandler regarding the death of

Jane Rhodes. These reports speak for themselves. The Hennepin Defendants lack sufficient

information to admit or deny the remaining allegations in paragraphs 20 through 34 of the

Complaint and therefore deny the same.

       18.     The allegations in paragraphs 35 through 57 are directed to the Ramsey

Defendants and/or Kandiyohi Defendants; therefore, no response is required from the

Hennepin Defendants. Further, to the extent that the allegation in paragraphs 35 through

57 constitute legal conclusions, no response is required from the Hennepin Defendants. To

the extent that a response is required, denied.

       19.     Responding to the allegations in paragraph 58 of the Complaint, the

Hennepin Defendants admit that Chandler created a report or reports in connection with

the investigation of the death of Jane Rhodes and/or the prosecution of Plaintiff. Deny that

these report(s) contained “knowingly false information.” Deny that the Hennepin

Defendants “manufacture[d]” “false inculpatory evidence” or otherwise engaged in

wrongful conduct of any kind. Deny all remaining allegations in paragraph 58 of the

Complaint.

       20.     Responding to the allegations in paragraph 59 of the Complaint, admit that

Chandler authored a report dated March 26, 1997, regarding the death of Jane Rhodes.

Deny that this report contained or constituted “fabricated evidence.” State that this report



                                              6
                CASE 0:24-cv-00104-BCW Doc. 48 Filed 03/28/24 Page 7 of 18




speaks for itself and deny the allegations in paragraph 59 of the Complaint to the extent

they are inconsistent with the report.

          21.     Responding to the allegations in paragraph 60 of the Complaint, admit that

Chandler authored a report dated March 26, 1997, regarding the death of Jane Rhodes.

Deny that this report contained or constituted fabricated evidence. Deny that this report

contained any “false information.” Deny that the report contained conclusions that were

“falsely framed as scientific facts.” State that this report speaks for itself and deny the

allegations in paragraph 60 of the Complaint to the extent they are inconsistent with the

report.

          22.     Responding to the allegations in paragraphs 61 and 62 of the Complaint,

admit that Chandler authored a report dated March 26, 1997, regarding the death of Jane

Rhodes. State that this report speaks for itself and deny the allegations in paragraphs 61

and 62 of the Complaint to the extent they are inconsistent with the report.

          23.     Responding to the allegations in paragraph 63 of the Complaint, the

Hennepin Defendants state that the Department of Natural Resources report speaks for

itself. The Hennepin Defendants deny all remaining allegations in paragraph 63.

          24.     Responding to the allegations in paragraph 64 of the Complaint, deny that

the Hennepin Defendants fabricated or manufactured evidence or otherwise engaged in

wrongful conduct of any kind. Deny all remaining allegations in paragraph 64 of the

Complaint.

          25.     Responding to the allegations in paragraph 65 of the Complaint, the

Hennepin Defendants admit that Plaintiff was indicted for first- and second-degree murder

                                               7
             CASE 0:24-cv-00104-BCW Doc. 48 Filed 03/28/24 Page 8 of 18




in connection with Jane Rhodes’ death. Deny that the Hennepin Defendants manufactured

or otherwise created false evidence. Deny that the Hennepin Defendants engaged in

wrongful conduct of any kind. To the extent the remaining allegations in paragraph 65 are

directed to McGee and/or Beccue, no response is required from the Hennepin Defendants.

To the extent the allegations in paragraphs 64 and 65 are directed to Chandler, the Hennepin

Defendants deny the allegations.

       26.     The allegations in paragraph 66 of the Complaint are directed to the

Kandiyohi Defendants; therefore, no response is required from the Hennepin Defendants.

To the extent that a response is required, denied.

       27.     Responding to the allegations in paragraph 67 of the Complaint, the

Hennepin Defendants deny that Chandler participated in any conspiracy or provided false

testimony. To the extent the remaining allegations in paragraph 67 are directed to McGee,

no response is required from the Hennepin Defendants. To the extent the allegations in

paragraph 67 are directed to Chandler, the Hennepin Defendants deny the allegations.

       28.     Responding to the allegations in paragraph 68 of the Complaint, the

Hennepin Defendants admit that Chandler authored a report or reports in connection with

the death of Jane Rhodes and that Chandler testified in connection with the criminal

prosecution against Plaintiff. The Hennepin Defendants deny that Chandler

“manufactured” reports or testimony or otherwise engaged in any wrongful conduct. The

Hennepin Defendants further deny the allegation that no physical, scientific, or medical

evidence supported the conclusion that Jane Rhodes’ death was a homicide. To the extent

the remaining allegations in paragraph 68 are directed to McGee, no response is required

                                             8
             CASE 0:24-cv-00104-BCW Doc. 48 Filed 03/28/24 Page 9 of 18




from the Hennepin Defendants. To the extent the remaining allegations in paragraph 68 are

directed to Chandler, the Hennepin Defendants deny such allegations.

       29.     Responding to the allegations in paragraph 69 of the Complaint, the

Hennepin Defendants deny that they engaged in any conspiracy, let alone a “conspiracy to

frame Plaintiff.” The Hennepin Defendants deny that Chandler provided false testimony or

otherwise engaged in any wrongful conduct. To the extent the remaining allegations in

paragraph 69 of the Complaint are directed to McGee, no response is required from the

Hennepin Defendants. To the extent the allegations in paragraph 69 are directed to

Chandler, the Hennepin Defendants state that Chandler’s trial testimony speaks for itself

and denies all remaining allegations.

      30.      Responding to the allegations in paragraph 70 of the Complaint, the

Hennepin Defendants admit that on or about July 29, 1998, a jury convicted Plaintiff of

first- and second-degree murder, and the court sentenced Plaintiff to life in prison. The

Hennepin Defendants deny that they engaged in any wrongful conduct. The Hennepin

Defendants deny that they fabricated or otherwise offered any false evidence. To the extent

the remaining allegations in paragraph 70 are directed to the Ramsey Defendants and/or

Kandiyohi Defendants, no response is required from the Hennepin Defendants. To the

extent the remaining allegations in paragraph 70 are directed to the Hennepin Defendants,

the Hennepin Defendants deny such allegations.

      31.      Responding to the allegations in paragraphs 71 and 72 of the Complaint, the

Hennepin Defendants admit that Plaintiff spent years in prison and that the CRU reviewed

Plaintiff’s case. Since Plaintiff remains convicted of second-degree manslaughter, the

                                             9
          CASE 0:24-cv-00104-BCW Doc. 48 Filed 03/28/24 Page 10 of 18




Hennepin Defendants deny that Plaintiff did not commit a crime. Further, the Hennepin

Defendants deny that Chandler provided insufficient or scientifically unsupported

evidence. The remaining allegations in paragraphs 71 and 72 are not directed to the

Hennepin Defendants, and therefore no response is required. To the extent that a response

is required, denied.

       32.    The Hennepin Defendants admit the allegations in paragraph 73 of the

Complaint.

       33.    Responding to the allegations in paragraphs 74 and 75 of the Complaint, the

Hennepin Defendants admit that Plaintiff entered an Alford plea to second-degree

manslaughter and received a prison sentence, time considered served. The Hennepin

Defendants lack sufficient information to admit or deny the remaining allegations in

paragraphs 74 and 75 and therefore deny the same.

       34.    Responding to the allegations in paragraph 76 of the Complaint, the

Hennepin Defendants admit that Plaintiff spent years in prison. The Hennepin Defendants

deny all remaining allegations in paragraph 76 of the Complaint.

       35.    Responding to the allegations in paragraph 77 of the Complaint, the

Hennepin Defendants deny that they engaged in any conspiracy, fabricated inculpatory

evidence, suppressed exculpatory evidence, or otherwise engaged in wrongful conduct of

any kind. To the extent the remaining allegations in paragraph 77 of the Complaint are

directed to the Ramsey Defendants and/or Kandiyohi Defendants, no response is required

from the Hennepin Defendants. To the extent the remaining allegations in paragraph 77 are

directed to the Hennepin Defendants, the Hennepin Defendants deny the allegations.

                                           10
         CASE 0:24-cv-00104-BCW Doc. 48 Filed 03/28/24 Page 11 of 18




       36.    The allegations in paragraphs 78 through 84 of the Complaint are not directed

to the Hennepin Defendants, therefore, no response is required. To the extent a response is

required, denied.

       37.    Responding to the allegations in paragraphs 85 and 86 of the Complaint, the

Hennepin Defendants deny that they engaged in any wrongful conduct or that Plaintiff is

entitled to any relief from the Hennepin Defendants. To the extent the remaining

allegations in paragraphs 85 and 86 of the Complaint are directed to the Ramsey

Defendants and/or Kandiyohi Defendants, no response is required from the Hennepin

Defendants. To the extent the remaining allegations in paragraphs 85 and 86 are directed

to the Hennepin Defendants, the Hennepin Defendants deny the allegations.

                              COUNT I – 42 U.S.C. § 1983
                    Fourteenth Amendment – Violation of Due Process

      38.    Responding to the allegations in paragraph 87 of the Complaint, the

Hennepin Defendants restate their responses to paragraphs 1 through 86 of the Complaint.

      39.    Responding to the allegations in paragraphs 88 through 93 of the Complaint,

the Hennepin Defendants deny that they engaged in any wrongful conduct or that Plaintiff

is entitled to any relief from the Hennepin Defendants. To the extent the remaining

allegations in paragraphs 88 through 93 of the Complaint are directed to the Ramsey

Defendants and/or Kandiyohi Defendants, no response is required from the Hennepin

Defendants. To the extent the remaining allegations in paragraphs 88 through 93 are

directed to the Hennepin Defendants, the Hennepin Defendants deny such allegations.




                                            11
         CASE 0:24-cv-00104-BCW Doc. 48 Filed 03/28/24 Page 12 of 18




                         COUNT II – 42 U.S.C. § 1983
     Fourth and Fourteenth Amendment – Violation of Right to Be Free From
                Unreasonable Seizures and Malicious Prosecution

      40.    Responding to the allegations in paragraph 94 of the Complaint, the

Hennepin Defendants restate their responses to paragraphs 1 through 93 of the Complaint.

      41.    Responding to the allegations in paragraphs 95 through 100 of the

Complaint, the Hennepin Defendants deny that they engaged in any wrongful conduct or

that Plaintiff is entitled to any relief from the Hennepin Defendants. Further deny that

Plaintiff’s criminal proceedings terminated in his favor. To the extent the remaining

allegations in paragraphs 95 through 100 of the Complaint are directed to the Ramsey

Defendants and/or Kandiyohi Defendants, no response is required from the Hennepin

Defendants. To the extent the remaining allegations in paragraphs 95 through 100 are

directed to the Hennepin Defendants, the Hennepin Defendants deny such allegations.

                          COUNT III – 42 U.S.C. § 1983
                   Fourteenth Amendment – Failure to Intervene

      42.    Responding to the allegations in paragraph 101 of the Complaint, the

Hennepin Defendants restate their responses to paragraphs 1 through 100 of the Complaint.

      43.    Responding to the allegations in paragraphs 102 through 104 of the

Complaint, the Hennepin Defendants deny that they engaged in any wrongful conduct or

that Plaintiff is entitled to any relief from the Hennepin Defendants. To the extent the

remaining allegations in paragraphs 102 through 104 of the Complaint are directed to the

Ramsey Defendants and/or Kandiyohi Defendants, no response is required from the

Hennepin Defendants. To the extent the remaining allegations in paragraphs 102 through


                                           12
          CASE 0:24-cv-00104-BCW Doc. 48 Filed 03/28/24 Page 13 of 18




104 are directed to the Hennepin Defendants, the Hennepin Defendants deny such

allegations.

                           COUNT IV – 42 U.S.C. § 1983
                     Conspiracy to Deprive Constitutional Rights

       44.     Responding to the allegations in paragraph 105 of the Complaint, the

Hennepin Defendants restate their responses to paragraphs 1 through 104 of the Complaint.

       45.     Responding to the allegations in paragraphs 106 through 110 of the

Complaint, the Hennepin Defendants deny that they engaged in any wrongful conduct or

that Plaintiff is entitled to any relief from the Hennepin Defendants. To the extent the

remaining allegations in paragraphs 106 through 110 of the Complaint are directed to the

Ramsey Defendants and/or Kandiyohi Defendants, no response is required from the

Hennepin Defendants. To the extent the remaining allegations in paragraphs 106 through

110 are directed to the Hennepin Defendants, the Hennepin Defendants deny such

allegations.

                                     COUNT V
                  Malicious Prosecution Under Minnesota State Law

       46.     Responding to the allegations in paragraph 111 of the Complaint, the

Hennepin Defendants restate their responses to paragraphs 1 through 110 of the Complaint.

       47.     Responding to the allegations in paragraphs 112 through 117 of the

Complaint, the Hennepin Defendants deny that they engaged in any wrongful conduct or

that Plaintiff is entitled to any relief from the Hennepin Defendants. Further deny that

Plaintiffs’ criminal proceedings terminated in his favor. To the extent the remaining

allegations in paragraphs 112 through 117 of the Complaint are directed to the Ramsey

                                           13
         CASE 0:24-cv-00104-BCW Doc. 48 Filed 03/28/24 Page 14 of 18




Defendants and/or Kandiyohi Defendants, no response is required from the Hennepin

Defendants. To the extent the remaining allegations in paragraphs 112 through 117 are

directed to the Hennepin Defendants, the Hennepin Defendants deny such allegations.

                                       COUNT VI
                      Intentional Infliction of Emotional Distress

       48.    Responding to the allegations in paragraph 118 of the Complaint, the

Hennepin Defendants restate their responses to paragraphs 1 through 117 of the Complaint.

       49.    Responding to the allegations in paragraphs 119 and 120 of the Complaint,

the Hennepin Defendants deny that they engaged in any wrongful conduct or that Plaintiff

is entitled to any relief from the Hennepin Defendants. To the extent the remaining

allegations in paragraphs 119 and 120 of the Complaint are directed to the Ramsey

Defendants and/or Kandiyohi Defendants, no response is required from the Hennepin

Defendants. To the extent the remaining allegations in paragraphs 119 and 120 are directed

to the Hennepin Defendants, the Hennepin Defendants deny such allegations.

                                      COUNT VII
                                    Indemnification

       50.    Responding to the allegations in paragraph 121 of the Complaint, the

Hennepin Defendants state that the allegations regarding Minn. Stat. § 466.07 constitute

legal conclusions that require no response. To the extent the remaining allegations in

paragraph 121 are directed to the Ramsey Defendants and/or Kandiyohi Defendants, no

response is required from the Hennepin Defendants. To the extent the remaining allegations

in paragraph 121 are directed to the Hennepin Defendants, the Hennepin Defendants deny

such allegations.

                                           14
            CASE 0:24-cv-00104-BCW Doc. 48 Filed 03/28/24 Page 15 of 18




                                  PRAYER FOR RELIEF

       51.     To the extent the allegations in the paragraph immediately following the

heading “PRAYER FOR RELIEF” on page 23 of the Complaint are directed to the Ramsey

Defendants and/or Kandiyohi Defendants, no response is required from the Hennepin

Defendants. To the extent the allegations are directed to the Hennepin Defendants, the

Hennepin Defendants deny that Plaintiff is entitled to any relief from the Hennepin

Defendants and deny all remaining allegations.

                                     JURY DEMAND

       52.     Responding to the allegations in the paragraph immediately following the

heading “JURY DEMAND” on page 23 of the Complaint, the Hennepin Defendants admit

only that Plaintiff demands a jury trial. The Hennepin Defendants deny all remaining

allegations in that paragraph.


                                 AFFIRMATIVE DEFENSES

       1.      Plaintiff’s Complaint fails to state a claim upon which relief may be granted.

       2.      Plaintiffs’ claims are barred by various immunity doctrines, including

qualified immunity, official immunity, vicarious official immunity, statutory immunity,

testimonial immunity, and any other immunities conferred by federal and state statutes or

common law.

       3.      Plaintiff’s claims are subject to the Minnesota Municipal Tort Claims Act

and/or the Minnesota State Tort Claims Act, including the monetary limits in Minn. Stat.

§ 466.04 and the notice requirements in Minn. Stat. § 466.05.


                                             15
            CASE 0:24-cv-00104-BCW Doc. 48 Filed 03/28/24 Page 16 of 18




       4.      Plaintiff’s claims are barred in whole or in part by equitable doctrines,

including but not limited to estoppel, waiver, or unclean hands.

       5.      The Hennepin Defendants affirmatively allege that a proximate or the sole

proximate or superseding cause of the Plaintiff’s alleged injuries and damages may have

been pre-existing medical conditions and/or subsequently occurring medical conditions for

which the Hennepin Defendants are not responsible.

       6.      The Hennepin Defendants complied in all respects with the applicable

standards of care and did not breach any legal duty. Their conduct did not cause any injuries

or other damages as claimed in the Complaint.

       7.      The Hennepin Defendants affirmatively allege that any injuries or damages

sustained by Plaintiff were caused or contributed to by the conduct or actions of Plaintiff

and/or persons, parties, entities, forces, and/or facts and/or circumstances over which the

Hennepin Defendants exercised no authority or control.

       8.      Plaintiff failed to take reasonable action to avoid or mitigate the alleged

detriment or damages.

       9.      Plaintiff has failed to exhaust his judicial and/or administrative remedies.

       10.     There is no causal relationship between the actions of the Hennepin

Defendants and the injuries or damages sustained by Plaintiff, if any.

       11.     If Plaintiff is entitled to recover any damages against the Hennepin

Defendants, which is affirmatively denied, then the Hennepin Defendants are entitled to

offset the amounts which Plaintiff has received from any collateral source or are entitled

to receive therefrom.

                                              16
            CASE 0:24-cv-00104-BCW Doc. 48 Filed 03/28/24 Page 17 of 18




       12.     Defendant Hennepin County alleges that it is a municipality and therefore is

immune from liability for punitive damages.

       13.     Defendant Hennepin County alleges affirmatively that it is a municipality,

and therefore said Defendant is immune from liability for claims pursuant to 42 U.S.C.

§ 1983 that are based upon the concept of respondeat superior.

       14.     Plaintiff’s claims are barred because the underlying criminal proceedings did

not terminate or resolve in Plaintiff’s favor.

       15.     Plaintiff’s claims are barred by the absolute-privilege doctrine.

       16.     Plaintiff’s claims may be barred by applicable statutes of limitations.

       17.     The Hennepin Defendants reserve the right to assert any and all affirmative

defenses that become available as the facts of this case develop and discovery is taken and

received.

       WHEREFORE, the Hennepin Defendants ask for an Order of the Court as follows:

       1.      Dismissing Plaintiff’s Complaint against the Hennepin Defendants and

granting judgment in favor of the Hennepin Defendants;

       2.      Awarding the Hennepin Defendants their costs, disbursements, and attorney

fees as allowed by law; and

       3.      Awarding the Hennepin Defendants such other and further relief as this Court

deems just and equitable.




                                                 17
        CASE 0:24-cv-00104-BCW Doc. 48 Filed 03/28/24 Page 18 of 18




                               MARY F. MORIARTY
                               Hennepin County Attorney

Dated: March 28, 2024          By: s/ Christiana M. Martenson
                                  James W. Keeler, Jr. (0176199)
                                  Sarah McLaren (0345878)
                                  Christiana M. Martenson (0395513)
                                  Assistant County Attorneys
                                  A2000 Government Center
                                  300 South Sixth Street
                                  Minneapolis, MN 55487
                                  Telephone: (612) 348-5432
                                  jim.keeler@hennepin.us
                                  sarah.mclaren@hennepin.us
                                  christiana.martenson@hennepin.us

                                  Attorneys for Defendants Hennepin County and
                                  William Chandler




                                    18
